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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                                                  CASE NUMBER:

 JAMES HUNTSMAN
                                                                    2:21−cv−02504−SVW−SK
                                                  Plaintiff(s),

          v.
 CORPORATION OF THE PRESIDENT OF THE
 CHURCH OF JESUS CHRIST OF LATTER−DAY
 SAINTS, et al.                                                     NOTICE TO FILER OF DEFICIENCIES IN
                                                                    ELECTRONICALLY FILED DOCUMENTS
                                                Defendant(s).




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                                                Clerk, U.S. District Court

 Dated: May 7, 2021                             By: /s/ Margo Mead margo_mead@cacd.uscourts.gov
                                                   Deputy Clerk

 cc: Assigned District Judge and/or Magistrate Judge

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